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EXCHANGE COMMISSION int
Plaintiff,
VS. : No. 1:18-cv-8947-AJN-GWG
[rel. 1:18-cv-8865]
TESLA, INC.,
Defendant.

 

ORDER AMENDING FINAL JUDGMENT AS TO DEFENDANT TESLA, INC.

The Securities and Exchange Commission and Defendant Tesla, Inc. (“Tesla” or the
“Company”) having moved and consented to amend the Final Judgment entered by this Court as
to Defendant Tesla, Inc. on October 16, 2018 (the “Final Judgment”) and for good cause shown:

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that subpart (d) of

paragraph IV of the Final Judgment is replaced and superseded by the following:

implement mandatory procedures and controls (i) providing oversight of all of
Elon Musk’s communications regarding the Company made in any format,
including, but not limited to, posts on social media (e.g., Twitter), the Company’s
website (e.g., the Company’s blog), press releases, and investor calls; and (ii)
requiring pre-approval by Securities Counsel of any written communication that
contains information regarding any of the following topics:

e the Company’s financial condition, statements, or results, including
earnings or guidance;

e potential or proposed mergers, acquisitions, dispositions, tender offers,
or joint ventures;

e production numbers or sales or delivery numbers (whether actual,
forecasted, or projected) that have not been previously published via
pre-approved written communications issued by the Company
(“Official Company Guidance”) or deviate from previously published
Official Company Guidance;

e new or proposed business lines that are unrelated to then-existing
business lines (presently includes vehicles, transportation, and
sustainable energy products);

 
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e projection, forecast, or estimate numbers regarding the Company’s
business that have not been previously published in Official Company
Guidance or deviate from previously published Official Company
Guidance;

e events regarding the Company’s securities (including Musk’s
acquisition or disposition of the Company’s securities), credit
facilities, or financing or lending arrangements;

e nonpublic legal or regulatory findings or decisions;

e any event requiring the filing of a Form 8-K by the Company with the
Securities and Exchange Commission, including:

e achange in control; or

e achange in the Company’s directors; any principal executive
officer, president, principal financial officer, principal
accounting officer, principal operating officer, or any person
performing similar functions, or any named executive officer;
or

e such other topics as the Company or the majority of the independent
members of its Board of Directors may request, if it or they believe
pre-approval of communications regarding such additional topics
would protect the interests of the Company’s shareholders; and

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all other provisions
of the Final Judgment shall remain in effect.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain
jurisdiction of this matter for the purposes of enforcing the terms of the Final Judgment, as

amended by this Order.

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